                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                 GREENEVILLE DIVISION


                                        )
IN RE SOUTHEASTERN MILK                 )
ANTITRUST LITIGATION                    )          Master File No. 2:08-MD-1000
____________________________________)
                                        )          Judge J. Ronnie Greer
THIS DOCUMENT RELATES TO:               )          Magistrate Judge Dennis H. Inman
                                        )
Sweetwater Valley Farm, Inc., et al. v. )
Dean Foods, et al., No. 2:07-CV-208     )
____________________________________)


      AGREED MOTION, PURSUANT TO SECTION 2.1 OF THE DEAN SETTLEMENT
      AGREEMENT, TO SUBMIT ESCROW AGREEMENT FOR COURT APPROVAL

       Pursuant to Section 2.1(c) of the Settlement Agreement. (D.I. 1603-1), Plaintiffs Sweetwater

Valley Farms Inc., et al. and Defendant Dean Foods Company (“Dean”) hereby move for an order

approving the terms of the Parties’ escrow agreement. The Escrow Agreement, attached hereto as

Exhibit A, was negotiated by Plaintiffs, Dean, the Escrow Agent, and Rust Consulting Inc., the Class

Administrator, which all find this Agreement acceptable.

       WHEREBY, the undersigned counsel hereby submits it for the Court’s approval and request that

the Court issue an Order approving the Escrow Agreement.




 Case 2:08-md-01000-JRG Document 1651 Filed 07/18/11 Page 1 of 3 PageID #: 39041
Dated: July 18, 2011                     Respectfully submitted,

                                         /s/Robert G. Abrams
Thomas C. Jessee, Esq.                   Robert G. Abrams, Esq.
412 East Unaka Ave.                      Robert J. Brookhiser, Esq.
Johnson City, TN 37601                   Gregory J. Commins, Jr., Esq.
jjlaw@jesseeandjessee.com                Terry L. Sullivan, Esq.
Liaison Counsel for Dairy Farmer Class   Baker & Hostetler LLP
                                         1050 Connecticut Ave., NW, Suite 1100
                                         Washington, DC 20036
                                         rabrams@bakerlaw.com
                                         rbrookhiser@bakerlaw.com
                                         gcommins@bakerlaw.com
                                         tsullivan@bakerlaw.com
                                         Lead Counsel for Dairy Farmer Class




Case 2:08-md-01000-JRG Document 1651 Filed 07/18/11 Page 2 of 3 PageID #: 39042
                                CERTIFICATE OF SERVICE

          I certify that on the 18th day of July, 2011, a true and correct copy of Agreed Motion,
 Pursuant to Section 2.1 of the Dean Settlement Agreement, to Submit Escrow Agreement for
 Court Approval was served by operation of the electronic filing system of the U.S. District Court
 for the Eastern District of Tennessee upon all counsel who have consented to receive notice of
 filings in the matters styled In re Southeastern Milk Antitrust Litigation, MDL No. 1899.



                                                     /s/ Danyll W. Foix
                                                         Danyll W. Foix




Case 2:08-md-01000-JRG Document 1651 Filed 07/18/11 Page 3 of 3 PageID #: 39043
